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                                   UNITED STATES BANKRUPTCY COURT
                                             Southern DISTRICT OF Texas
                                                         Victoria Division


In re: Pepi Companies LLC, et al.,                                §                 Case No. 20-60056
                                                                  §
                                                                                    Lead Case No. 20-60056
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 06/30/2022                                                            Petition Date: 09/24/2020



Plan Confirmed Date:10/26/2020                                                       Plan Effective Date: 10/26/2020


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity:
                                                                                     Name of Authorized Party or Entity




/s/ William Hotze                                                       William Hotze
Signature of Responsible Party                                           Printed Name of Responsible Party
08/17/2022
Date
                                                                        602 Sawyer Street, Suite 400, Houston, TX 77007
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name Pepi Companies LLC, et al.,                                                                        Case No. 20-60056


Part 1: Summary of Post-confirmation Transfers

                                                                                                                                 Total Since
                                                                                                    Current Quarter             Effective Date

  a. Total cash disbursements                                                                             $8,088,429                      $36,331,524
 b. Non-cash securities transferred                                                                                   $0                          $0
  c. Other non-cash property transferred                                                                              $0                          $0
 d. Total transferred (a+b+c)                                                                             $8,088,429                      $36,331,524

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                     Approved       Approved      Paid Current          Paid
                                                                                   Current Quarter Cumulative       Quarter           Cumulative
a.          Professional fees & expenses (bankruptcy)
            incurred by or on behalf of the debtor               Aggregate Total
                                                                                              $0       $60,478                  $0           $60,478
            Itemized Breakdown by Firm
                   Firm Name                            Role
            i      Jones Murray & Beatty LLP            Lead Counsel                          $0       $51,175                  $0           $51,175
            ii     MACCO Restructuring Group, Financial Professional                          $0        $9,303                  $0            $9,303


                                                                                     Approved       Approved      Paid Current          Paid
                                                                                   Current Quarter Cumulative       Quarter           Cumulative
b.          Professional fees & expenses (nonbankruptcy)
            incurred by or on behalf of the debtor               Aggregate Total
                                                                                              $0        $7,772                  $0            $7,772
            Itemized Breakdown by Firm
                   Firm Name                            Role
            i      Jarrod B. Martin, Subchapter V Other                                       $0        $7,772                  $0            $7,772
            ii                                                                                                                                    $0
c.          All professional fees and expenses (debtor & committees)                          $0       $68,250                  $0           $68,250

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                      Total
                                                   Anticipated                                                                             % Paid of
                                                    Payments            Paid Current                                                       Allowed
                                                   Under Plan             Quarter           Paid Cumulative      Allowed Claims             Claims
 a. Administrative claims                                        $0                    $0                $0                          $0          0%
 b. Secured claims                                               $0                    $0                 $0                         $0          0%
 c. Priority claims                                              $0                    $0                $0                          $0          0%
 d. General unsecured claims                                     $0                    $0                 $0                         $0          0%
 e. Equity interests                                             $0                    $0                 $0


Part 4: Questionnaire
     a. Is this a final report?                                                                                 Yes        No
             If yes, give date Final Decree was entered:
         If no, give date when the application for Final Decree is anticipated:         10/26/2023
  b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                      Yes        No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Charles Weiser                                                    Charles Weiser
Signature of Responsible Party                                         Printed Name of Responsible Party
Chief Financial Officer                                                08/17/2022
Title                                                                  Date




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